     Case 2:20-cr-00045-GAM Document 299 Filed 04/15/22 Page 1 of 3




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


United States OF AMERICA                        :

       v.                                       :      No. 2:20-cr-00045-GAM

Abdur Rahim Islam et al.,                       :      (McHugh, J.)

             Defendants.                        :


            DEFENDANT ISLAM’S PROPOSED ANSWER TO JURY
                       COMMUNICATION No. 14

       Defendant Abdur Rahim Islam, through counsel, respectfully submits the following

proposed answer to the Jury’s question: “Does failing to disclose a fact (such as marriage)

constitute a ‘false representation’ (or fraud) by omission under the definition of honest

services wire fraud scheme to defraud.” Comm’n No. 14.


Proposed Response to Communication No. 14

       Members of the Jury:

       I have your Communication #14, in which you ask whether the crime of
       Honest Services Fraud, as charged in the two counts that you have before you,
       can be established by a failure to “disclose a fact (such as marriage).”

       The simple and direct answer to your question is “No.” The scheme to defraud
       the citizens of Philadelphia of the honest services of Councilmember Johnson,
       as charged in these two counts, would only be established if you were to find,
       unanimously and beyond a reasonable doubt, that a defendant devised or
       participated in a scheme to engage in the quid pro quo bribery scheme that is
       alleged.

       In other words, a conviction can only be based on the charged scheme to bribe
       Mr. Johnson by exchanging a thing of value, that is, the alleged sham contract
       between Universal and Chavous Consulting, for a promise by Councilmember
       Johnson to commit the charged official acts relating to the Royal Theater
       development and Bainbridge Street reversion.
    Case 2:20-cr-00045-GAM Document 299 Filed 04/15/22 Page 2 of 3




       Any false statements, nondisclosure or concealment of material facts, or other
       surrounding circumstances that were addressed in testimony were presented to
       you only for whatever light you may find that they tend to shed, or do not
       shed, on the ultimate question of whether you find the charged honest services
       bribery scheme to have been established beyond a reasonable doubt.


       Undersigned counsel also joins in the arguments submitted by Councilman Johnson.




                                          Respectfully submitted,
Dated: April 15, 2022
                                         s/ David Laigaie
s/Peter Goldberger                       ECKERT SEAMANS CHERIN & MELLOTT
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                               Attorneys for Defendant Islam
     Case 2:20-cr-00045-GAM Document 299 Filed 04/15/22 Page 3 of 3




                               CERTIFICATE OF SERVICE

       I, David Laigaie, hereby certify that on this 15th day of April 2022, the foregoing was

served to all parties of record via electronic mail and via the Court’s electronic filing system

(CM/ECF), which will send notification of filing to all attorneys of record.


Dated: April 15, 2022                         s/ David Laigaie
